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                    UNITED STATES DISTRICT COURT
          FOR THE Northern District of Illinois − CM/ECF NextGen 1.7.1.1
                               Eastern Division

Sia Henry, et al.
                                  Plaintiff,
v.                                                    Case No.: 1:22−cv−00125
                                                      Honorable Matthew F. Kennelly
Brown University, et al.
                                  Defendant.



                         NOTIFICATION OF DOCKET ENTRY



This docket entry was made by the Clerk on Monday, July 24, 2023:


        MINUTE entry before the Honorable Matthew F. Kennelly: Video status and
motion hearing held on 7/24/2023. Plaintiffs' motion for reconsideration [387] is denied
without prejudice with the explanation and for the reasons stated on the record. Plaintiffs'
motion to compel [402] is taken under advisement. Parties are to meet and confer
regarding the proposal by Georgetown found at pages 3−4 of the agreement. The Court
also noted that the Georgetown representative whose deposition has been taken will have
to reappear for a time period to be agreed upon by the parties; this will not count as an
additional deposition against the overall deposition limits and the time spent will not
count against the overall time limits. The parties are directed to file a joint status report in
this regard by 7/31/2023. Henceforth all case management conferences (status hearings)
will be held in person with an opportunity for remote listening but not remote speaking. In
person status hearing is set for 8/24/2023 at 1:00 p.m. Any motions that any party wishes
to have addressed at the hearing must be filed by 8/14/2023; responses are due by
8/21/2023. The following call−in number will be used for remote listening of the hearing:
888−684−8852, access code 746−1053. No remote participation will be allowed. Mailed
notice. (mma, )




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